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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 UNITED STATES CONFERENCE OF
 CATHOLIC BISHOPS,

                         Plaintiff,
                                                        Case No. 1:25-cv-00465 (TNM)
                         v.

 UNITED STATES DEPARTMENT OF
 STATE, et al.

                         Defendants.


                                              ORDER

         Plaintiff, the United States Conference of Catholic Bishops, moved for a temporary

restraining order and preliminary injunction against Defendants, the United States Department of

State and various other Government agencies and officials, in relation to certain migrant and

refugee assistance programs. ECF No. 5. A party seeking a temporary restraining order must

make a “clear showing that four factors, taken together, warrant relief: likely success on the

merits, likely irreparable harm in the absence of preliminary relief, a balance of the equities in its

favor, and accord with the public interest.” League of Women Voters of United States v. Newby,

838 F.3d 1, 6 (D.C. Cir. 2016). Such an order is an extraordinary remedy, never granted as of

right.

         The Court has considered each of these four factors in light of the parties’ briefs and the

arguments presented at a hearing on February 20, 2025. The Court finds that Plaintiff has not

made the requisite showing and will thus deny Plaintiff’s motion to the extent that it requests a

temporary restraining order. But the Court will set an expedited schedule for additional briefing

on Plaintiff’s request for a preliminary injunction.
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       For these reasons, it is hereby

       ORDERED that Plaintiff’s [5] Motion for Temporary Restraining Order and Preliminary

Injunction is DENIED as to the request for a temporary restraining order only.

       SO ORDERED.



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Dated: February 20, 2025                           TREVOR N. McFADDEN, U.S.D.J.




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